         Case 20-33948 Document 2444-1 Filed in TXSB on 04/21/22 Page 1 of 1




                                     In re Fieldwood SD Offshore LLC 1
                                             Case No. 20-33952

          Notes to Post-Confirmation Report for the Quarter Ended March 31, 2022


Part 2b

 The aggregate total of “Professional fees & expenses (bankruptcy and non-bankruptcy) incurred by
or on behalf of the debtor” reflects all payments made by the Plan Administrator to professionals
for the pre-effective date period after the effective date.

Part 3

“Total Anticipated Payments Under Plan” are currently unknown at this time and are subject to
change based on, among other things, operating expenses of the Plan Administrator and/or the
estates.

The claims reconciliation process is ongoing and reporting with respect to “Allowed Claims” is
premature at this time. Accordingly, all of the amounts listed with respect to “Allowed Claims”
of all priority levels reflect the estimates set forth in the Disclosure Statement and any and all
amounts are subject to change as the reconciliation process evolves. Therefore, the “% Paid of
Allowed Claims” may be inaccurate as a result.




1
  The Post-Effective Date Debtors, along with the last four digits of each Post-Effective Date Debtor’s federal tax
identification number, as applicable, are: Fieldwood Energy III LLC (6778); Fieldwood Energy Offshore LLC (4494),
Fieldwood Energy Inc. (4991), GOM Shelf LLC (8107), and FW GOM Pipeline, Inc. (8440). The Debtors in the other
nine pending chapter 11 cases (which continue to be jointly administered with the cases of the Post-Effective Date
Debtors), each of which have either been dissolved or merged into other entities as of the Effective Date, consist of
the following: Dynamic Offshore Resources NS, LLC (0158); Fieldwood Onshore LLC (3489); Fieldwood SD Offshore
LLC (8786); Fieldwood Offshore LLC (2930); Bandon Oil and Gas GP, LLC (9172); Bandon Oil and Gas, LP (9266);
Fieldwood Energy SP LLC (1971); Galveston Bay Pipeline LLC (5703); and Galveston Bay Processing LLC (0422).
While the cases of the Debtors remain open for administrative purposes, as provided by the confirmed plan, all
payments and distributions have been made from accounts in the name of Fieldwood Energy III LLC or Fieldwood
Energy Inc.
